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           In the United States Court of Federal Claims
                                           No. 21-1288
                                       Filed: June 11, 2021

                                              )
WILLARD NIEUWSMA,                             )
                                              )
                      Plaintiff,              )
                                              )
v.                                            )
                                              )
THE UNITED STATES,                            )
                                              )
                      Defendant.              )
                                              )

                                   ORDER DISMISSING CASE

        On April 23, 2021, plaintiff, proceeding pro se, filed a complaint with this Court,
alleging, inter alia, that the government “perpetrat[ed] false criminal charges against [him]” and
deprived him of his constitutionally protected rights in a separate criminal proceeding.
Complaint at 1, ECF No. 1. On May 5, 2021, the Court, believing it lacked subject-matter
jurisdiction over plaintiff’s complaint, ordered plaintiff to show cause as to why his case should
not be dismissed. Order to Show Cause, ECF No. 5. Plaintiff failed to respond to the Court’s
Order to Show Cause. Therefore, plaintiff’s Complaint is hereby DISMISSED, pursuant to Rule
12(h)(3) of the Rules of the Court of Federal Claims (“RCFC”) and for failure to prosecute
pursuant to RCFC 41(b). The Clerk of Court is directed to take the necessary steps to dismiss
this matter.

       IT IS SO ORDERED.
                                                    Loren A. Smith
                                                    Loren A. Smith,
                                                    Senior Judge
